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Attorneys for Plaintiff

          IN THE UNITED STATES DISTRICT COURT
   FOR THE DISTRICT OF MONTANA, GREAT FALLS DIVISION



JUSTIN LAUGHERY and                      Cause No. CV-22-46-GF-BMM
HEATHER WILSON-LAUGHERY,

                   Plaintiffs,           COMPLAINT AND DEMAND
                                         FOR JURY TRIAL
      -vs-

NEW SOUND
TRANSPORTATION, LLC,

                   Defendant.


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      Plaintiffs, through counsel, submits their Complaint against

Defendant as follows:

                                    PARTIES

      1.      Plaintiff Justin Laughery is a citizen and resident of

Yellowstone County, Montana.

      2.      Plaintiff Heather Wilson-Laughery is a citizen and resident of

Yellowstone County, Montana.

      3.      Defendant New Sound Transportation, LLC is a company

formed in Washington with its principal place of business located in Fife,

Washington.

                         JURISDICTION AND VENUE

      4.      This Court has subject matter jurisdiction over this case

pursuant to 28 U.S.C. § 1332(a)(1), as there is complete diversity of

citizenship and the amount in controversy exceeds $75,000.

      5.      This Court has personal jurisdiction over Defendant New

Sound Transportation, LLC since it is subject to the jurisdiction of Montana

courts. Fed. R. Civ. P. 4(k) and Mont. R. Civ. P. 4(b)(1).


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      6.      Venue is proper in this District because the events or omissions

giving rise to this claim occurred in Montana. 28 U.S.C. § 1391(b)(2).

                             COMMON ALLEGATIONS

      7.      On May 12, 2020, Defendant New Sound Transportation, LLC,

through its agent, was operating a semi-truck and trailer on Interstate 90 in

Montana when it suddenly tipped on its side and blocked the entirety of

the eastbound lane of travel.

      8.      Plaintiff Justin Laughery was a passenger in a vehicle traveling

in the eastbound lane when the Defendant’s semi and trailer suddenly

blocked the lane of travel. Justin’s vehicle collided with the semi-trailer

and then careened off the right side of the road and down the

embankment.

      9.      Defendant negligently operated its semi-truck and trailer in an

unsafe manner, failed to maintain his vehicle and trailer in his lane of

travel, and failed to yield the right of way.

      10.     Defendant’s semi was driven by Mr. Clinton Ardis who was an

employee and/or agent of Defendant New Sound Transportation, LLC


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acting in the course and scope of his agency at the time of the collision.

Defendant New Sound Transportation, LLC is responsible for Plaintiffs’

damages caused by Mr. Clinton Ardis’ negligent acts/omissions.

      11.   Plaintiff Justin Laughery suffered physical, mental, and

financial damages as a result of injuries sustained in the collision caused by

Defendant New Sound Transportation LLC. His damages include, but are

not limited to, injuries to his neck and back, post-traumatic stress disorder,

medical expenses and lost earnings.

      12.   At the time of the collision complained of Plaintiffs Heather

Wilson-Laughery and Justin Laughery were married and they continue to

be married. Plaintiff Heather Wilson-Laughery, because of the injuries and

impairments to her husband, has suffered loss of support, aid, protection,

affection, and society of her husband.

      13.   As a result of Defendants’ acts and/or omissions, Plaintiffs

suffered severe and permanent personal and physical injuries which are

ongoing. Plaintiffs’ damages, in an amount to be determined at trial,




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include but are not limited to physical, financial, and emotional distress

damages independently and collectively suffered by each Plaintiff.

                          COUNT I - NEGLIGENCE

                Plaintiffs incorporate all preceding paragraphs.

      14.     Defendant owed a duty to use reasonable care in the operation

of the semi-truck and trailer on May 12, 2020.

      15.     Defendant breached that duty when it failed to operate the

semi-truck and trailer in a safe and prudent manner by traveling in an

unsafe manner, failing to maintain the vehicle and trailer in the driver’s

lane of travel, and failing to yield the right of way, and Defendant’s

unreasonable actions/omissions caused a collision with Plaintiff Justin

Laughery.

      16.     Defendant’s acts/omissions constitute negligence, and their

negligence caused the collision and subsequent injuries sustained by

Plaintiffs.




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      17.     As a result of Defendant’s negligence, Plaintiffs suffered

personal injuries, physical injuries, financial damages, emotional distress

and mental anguish, both past and future.

      18.     Plaintiffs are entitled to all available damages provided by

Montana law as a result of Defendant’s negligence.

                      COUNT II - NEGLIGENCE PER SE

                 Plaintiffs incorporate all preceding paragraphs.

      19.     Defendant’s actions violated Montana statutes designed to

protect the public from harm. Specifically, Defendant violated the

following:

      a.      MCA § 61-8-302(1). Careless driving; and

      b.      MCA § 61-8-321. Drive on right side of roadway.

      20.     Plaintiffs are within the class which these laws were designed

to protect, and the harms to Plaintiffs are of the nature the statutes were

designed to prevent.




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      21.    Defendant’s violations of Montana statutes constitute

negligence per se, and his violations of Montana statutes caused the

collision and subsequent injuries sustained by Plaintiffs.

      22.    Plaintiffs are entitled to all available damages provided by

Montana law as a result of Defendant’s violation of Montana statutes.

                  COUNT III – RESPONDEAT SUPERIOR

                Plaintiffs incorporate all preceding paragraphs.

      23.    At the time of the collision with Plaintiffs, Clinton Ardis was an

employee or agent of Defendant New Sound Transportation, LLC and in

the course and scope of such employment.

      24.    Defendant New Sound Transportation, LLC under the doctrine

of respondeat superior is legally and vicariously liable for all damage

caused by Clinton Ardis’ negligent acts and/or omissions.

     WHEREFORE, Plaintiffs respectfully request a judgment against

Defendants as follows:

     1.      For compensatory damages caused to Plaintiffs by Defendants

in an amount to be proven at trial;


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     2.      For costs, interest, pre-judgment interest as determined by the

Court;

     3.      For any and all further legal or equitable relief as the Court

deems proper.

                        DEMAND FOR JURY TRIAL

     Plaintiffs demand a trial by jury in this matter.

     DATED this 17th day of May, 2022.

                                           By:   /s/ Joseph Cook
                                                 Joseph Cook
                                                 HEENAN & COOK, PLLC

                                                 James M. Ragain
                                                 RAGAIN & CLARK, PC

                                                 Attorneys for Plaintiff




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